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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 23-cv-00962-CMA-MEH

   STRIKE 3 HOLDINGS, LLC,

          Plaintiff,

   v.

   JOHN DOE SUBSCRIBER ASSIGNED IP ADDRESS 67.174.106.86,

          Defendant.


                                               ORDER


   Michael E. Hegarty, United States Magistrate Judge.

          Before the Court is Defendant John Doe’s Motion to Quash Subpoena [filed May 30, 2023;

   ECF 12]. Additional briefing would not materially assist the Court in adjudicating the Motion. See

   D.C.COLO.LCivR 7.1(d). For the following reasons, the Court denies the Motion.

                                           BACKGROUND

          Plaintiff initiated this action on April 18, 2023, alleging that Defendant John Doe,

   identified only by his internet protocol (“IP”) address, infringed on Plaintiff=s copyrighted work

   by using the internet and a “BitTorrent” protocol to reproduce, distribute, display, or perform

   Plaintiff’s protected media. ECF 1.

          In an effort to identify the alleged infringer, Plaintiff requested permission from the Court

   to serve limited, immediate discovery on Defendant’s Internet Service Providers (“ISP”) prior to

   the Rule 26(f) conference to obtain additional information regarding Defendant’s identity. ECF 8.

   The Court determined that Plaintiff had shown good cause for limited expedited discovery and


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   granted Plaintiff=s Motion. ECF 10. In particular, the Court authorized Plaintiff to serve a third-

   party subpoena pursuant to Fed. R. Civ. P. 45 on the identified ISP for the limited purpose of

   ascertaining the identity of the Defendant based upon the IP address named in the Complaint. Id.

   The Court directed that the subpoena be limited to providing Plaintiff with the name and address

   of the subscriber (Defendant John Doe) to whom the ISP has assigned an IP address. Id. With the

   subpoena, the Court directed Plaintiff to serve a copy of the Court’s Order. Id. Finally, the Court

   emphasized that Plaintiff may only use the information disclosed in response to the subpoena for

   the purpose of protecting and enforcing its rights as set forth in its Complaint, ECF 1. ECF 10. The

   Court cautioned Plaintiff that improper use of this information may result in sanctions. Id.

          In accordance with the Court’s Order, Plaintiff served a Rule 45 subpoena on Defendant’s

   ISP, Comcast Cable Communications, LLC (“Comcast”), on or about May 2, 2023. ECF 12-1 at

   3. Comcast notified Defendant of the subpoena on May 8, 2023. Id. at 2. Defendant filed the

   pending Motion to Quash on May 30, 2023. ECF 12.

                                         LEGAL STANDARD

          Fed. R. Civ. P. 45(d)(3)(A) requires the Court to modify or quash a subpoena that: (i)

   “fails to allow a reasonable time to comply;” (ii) requires excessive travel by a non-party; (iii)

   “requires disclosure of privileged or other protected matter, if no exception or waiver applies; or

   (iv) subjects a person to undue burden.” No other grounds are listed. Id.

          In this district, a party has no standing to quash a subpoena served on a third party, except

   as to claims of privilege or upon a showing that a privacy issue is implicated. See Windsor v.

   Martindale, 175 F.R.D. 665, 668 (D. Colo. 1997) (“Absent a specific showing of a privilege or

   privacy, a court cannot quash a subpoena duces tecum.”); see also Luo v. Wang, No. 1:20-cv-

   02765-RMR-MEH, 2022 WL 4473650, at *1 (D. Colo. Sept. 19, 2022) (same (quoting Windsor,

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   175 F.R.D. at 668)); Martinez v. Nationwide Affinity Ins. Co. of America, No. 1:21-cv-02495-CNS-

   SKC, 2023 WL 3865717, at *2 (D. Colo. June 7, 2023) (same (citing Windsor, 175 F.R.D. at 668));

   Broadcort Capital Corp. v. Flagler Secs., Inc., 149 F.R.D. 626, 628 (D. Colo. 1993) (“Plaintiff

   correctly notes that the burden is upon [the moving non-party] to show that he has a privacy interest

   or that some other privilege applies.” (citing Centurion Industries, Inc. v. Warren Steurer & Assoc.,

   665 F.2d 323 (10th Cir. 1981))). Other courts in the Tenth Circuit have held that a party has

   standing to challenge a subpoena served on a third party only on the basis “of privilege, personal

   interest, or proprietary interest.” Howard v. Segway, Inc., No. 11-cv-688-GFK-PJC, 2012 WL

   2923230, at *2 (N.D. Okla. July 18, 2012) (citing Washington v. Thurgood Marshall Acad., 230

   F.R.D. 18 (D.D.C. 2005)).

          Accordingly, objections unrelated to a claim of privilege or privacy interests are not proper

   bases upon which a party may quash a subpoena. See Windsor, 175 F.R.D. at 668; see also PTG

   Nevada, LLC v. Does, No. 16-cv-00425-WYD-MEH, 2016 WL 1248509, at *1 (D. Colo. Mar. 30,

   2016) (same (citing Windsor, 175 F.R.D. at 668)); Luo, 2022 WL 4473650, at *1 (finding “Plaintiff

   lacks standing to bring any of her arguments not related to a claim of privilege or some other

   privacy interest”); Oliver B. Cannon & Son, Inc. v. Fidelity & Cas. Co. of New York, 519 F. Supp.

   668, 680 (D. Del. 1981) (movant lacks standing to raise objections unrelated to any right of

   privilege). Thus, “[e]ven where a party has standing to quash a subpoena based on privilege or a

   personal right, [he or she] still lacks standing to object on the basis of undue burden.” Howard,

   2012 WL 2923230, at *2 (internal citations omitted); see also Martinez, 2023 WL 3865717, at *3

   n.2 (same (citing Howard, 2012 WL 2923230, at *2)); PTG Nevada, LLC, 2016 WL 1248509, at

   *1 (same (citing Howard, 2012 WL 2923230, at *2)); Malibu Media, LLC v. John Does 1-15, No.

   12-2077, 2012 WL 3089383, at *8 (E.D. Pa. July 30, 2012) (noting that a defendant seeking to

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   quash a subpoena on an ISP “is not faced with an undue burden because the subpoena is directed

   at the internet service provider and not the [d]efendant.”).

                                               ANALYSIS

          As an initial matter, given the content of the Motion, Defendant John Doe appears to seek

   to proceed in this litigation anonymously. ECF 12. However, Defendant has failed to properly seek

   permission from the Court to do so. See K-Beech, Inc. v. Does 1-29, 826 F. Supp. 2d 903, 905

   (W.D.N.C. 2011) (noting that “a party who wishes to proceed anonymously may overcome this

   presumption [against anonymous proceedings] by filing a well-reasoned motion to proceed

   anonymously”); see also W. Coast Prods., Inc. v. Does 1-5829, 275 F.R.D. 9, 12 (D.D.C. 2011)

   (“[F]ederal courts generally allow parties to proceed anonymously only under certain special

   circumstances when anonymity is necessary to protect a person from harassment, injury, ridicule

   or personal embarrassment.”). Based on these failures, the Court is authorized to deny Defendant’s

   Motion without prejudice. See Malibu Media, LLC v. Doe Subscriber Assigned IP Address

   98.245.106.243, No. 13-cv-01560-WYD-MEH, 2013 WL 4041579, at *1 (D. Colo. Aug. 7, 2013).

   In the interest of judicial efficiency, however, the Court will proceed to the merits. Id.

          But first, the Court acknowledges that Defendant’s filing contains Defendant’s name and

   address. ECF 12-1 at 2. Accordingly, the Clerk of Court is directed to maintain ECF 12-1 under

   Restriction Level Two until further order from the Court. 1 If Defendant wants to proceed

   anonymously and keep this filing (containing Defendant’s identifying information) confidential,




   1
     The Court orders Restriction Level Two instead of Level Three in light of its ruling on the Motion
   to Quash herein which permits Comcast to disclose Defendant’s name and address to Plaintiff in
   response to Plaintiff’s subpoena.

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   Defendant shall file a motion to (1) maintain the filing under Restriction Level Two and (2)

   proceed anonymously in this litigation on or before June 23, 2023.

          Turning to the merits of Defendant’s Motion to Quash, Defendant argues that he or she has

   standing to quash based on “a personal or proprietary interest” in his or her personally identifying

   information. ECF 12 at 8. The Court agrees and therefore may consider Defendant’s Motion but

   must limit its analysis to whether the subpoena served on Comcast “requires disclosure of

   privileged or other protected matter, if no exception or waiver applies.” Fed. R. Civ. P.

   45(d)(3)(A)(iii).

          This Court agrees with those courts finding that internet subscribers do not have an

   expectation of privacy in the identifying information they gave to their ISPs. See, e.g., Platinum

   Properties Inv. Network, Inc. v. Does 1-2, No. 18-61907-CIV, 2018 WL 7825045, at *7 (S.D. Fla.

   Nov. 19, 2018) (holding defendants lack an “expectation of privacy in Internet subscriber

   information because it has already been exposed to a third party, the Internet Service Provider”

   (internal citation omitted)); id. (“The Supreme Court consistently has held that a person has no

   legitimate expectation of privacy in information he voluntarily turns over to third parties.” (internal

   citation omitted)); AF Holdings, LLC v. Does 1B162, No. 11-23036-Civ, 2012 WL 488217, at *4

   (S.D. Fla. Feb. 14, 2012) (“As courts have routinely held, ‘Internet subscribers do not have a

   reasonable expectation of privacy in subscriber information they have already conveyed to their

   [Internet Service Providers].’” (internal citations omitted)); First Time Videos, LLC v. Does 1B18,

   No. 4:11-cv-69-SEB-WGH, 2011 WL 4079177, at *1 (S.D. Ind. Sept. 13, 2011) (“[T]here is no

   expectation of privacy in Internet subscriber information because it has already been exposed to a

   third party, the Internet Service Provider.” (internal citations omitted)). As for privilege, “[t]he

   burden rests squarely on the Defendant, as the moving party, to demonstrate that privilege exists

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   and that the subpoena would disclose such information.” Malibu Media, LLC, 2012 WL 3089383,

   at *5 (internal citation omitted).

          In this case, Defendant’s Motion does not address whether the information sought is

   privileged or otherwise protected. Instead, Defendant asks the Court to quash the subpoena based

   on Plaintiff’s settlement practices, Plaintiff’s use of “highly unreliable” technology with “a

   significant risk of misidentification,” and the potential for “unwarranted annoyance,

   embarrassment, and an undue burden.” ECF 12. As set forth below, each argument is equally

   outside the scope of Rule 45.

   I.     Reliability of Technology and Risk of Misidentification

          Defendant asserts Plaintiff used technology that is unreliable to identify Defendant and

   “insufficient to show a volitional act of copyright infringement.” 2 ECF 12 at 8. Similarly,

   Defendant argues the subpoena “improperly seeks information relating to public IP addresses of

   individuals that potentially have nothing to do with any infringement activities.”3 Id. at 15–16

   (emphasis added). Thus, the subpoena purportedly permits Plaintiff “to obtain the detailed personal

   information of unknown numbers of innocent individuals that Plaintiff could never make party to

   this suit and subject them to onerous, invasive discovery and/or unfair settlement tactics. Id. at 7.

          Importantly, the plain language of Rule 45 does not authorize the Court to quash a subpoena

   based upon alleged misidentification. “[T]he concern that someone else may have somehow gained

   access to the Doe’s computer is essentially a denial of personal liability.” Malibu Media, LLC v.

   John Does 1-7, No. 12-1189, 2013 WL 501445, at *2 (C.D. Ill. Feb. 11, 2013) (internal citation


   2
     Curiously, Defendant’s argument regarding the reliability of identifying Defendant “merely by a
   public IP address” cites a dearth of authority. Id. at 8–13.
   3
     Defendant mischaracterizes the subpoena. The subpoena seeks information about a single IP
   address consistent with the Court’s Order at ECF 10. ECF 12-1 at 3.

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   omitted). However, “[a] general denial of liability is not relevant as to the validity or enforceability

   of a subpoena, but rather should be presented and contested once parties are brought properly into

   the suit.” First Time Videos, LLC v. Does 1-500, 276 F.R.D. 241, 250 (N.D. Ill. 2011) (internal

   citations omitted); see also Malibu Media, LLC, 2013 WL 501445, at *2 (the concern about

   misidentification “goes to the merits of the claim, not to the validity or enforceability of the

   subpoena . . . Raising this issue now is premature.”). Thus, Defendant’s arguments challenging

   Plaintiff’s investigation methods and concerning the accessibility of a Wireless Firewall/Router

   are premature at this stage of the litigation and more properly raised during adjudication of the

   merits of this case. “Without the identifying information to name the Doe Defendant[] as [a] part[y]

   to the lawsuit, the plaintiff would not have ‘the opportunity to contest the merits and the veracity

   of their defenses.’” First Time Videos, LLC, 276 F.R.D. at 251 (quoting Voltage Pictures, LLC v.

   Does 1-5000, 818 F. Supp. 2d 28, 35 (D.D.C. 2011)).

          In fact, Plaintiff’s attempt to obtain information from the ISP is a necessary first step in

   Plaintiff’s process of discovering the identity of the alleged infringer for the purpose of enforcing

   its copyright. The fact that the information Plaintiff seeks will not conclusively establish liability

   does not persuade the Court that the subpoena should be quashed. To hold otherwise would impose

   a standard inconsistent with the Federal Rules of Civil Procedure. “Parties may obtain discovery

   regarding any nonprivileged matter that is relevant to any party’s claim or defense and proportional

   to the needs of the case, considering the parties’ relative access to relevant information, . . . [and]

   the importance of the discovery in resolving the issues . . . .” Fed. R. Civ. P. 26(b)(1). Here,

   Defendant does not claim that his or her identifying information is “privileged” and, as the internet

   subscriber with an IP address captured by the Plaintiff in investigating potential copyright




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   infringement, Defendant certainly may know information that may lead to the identification of the

   actual infringer and other discoverable matter.

   II.    Plaintiff’s Settlement Practices

          Next, Defendant claims “it is highly likely that Plaintiff has no intention of pursuing an

   actual trial on the merits in the thousands of copyright infringement cases” it has filed and “instead

   hopes to profit from settlements with small and relatively resource limited individual defendants

   as well as default judgments against individual defendants who are unsure of how to, or feel they

   are financially unable to, defend themselves through the full course of a copyright infringement

   trial.” ECF 12 at 4. Defendant further argues that Plaintiff “appears to be seeking to take advantage

   of the threat of an award of statutory damages, attorneys’ fees, ignorance about copyright law, and

   the stigma associated with accessing copyrighted material via the internet to extract quick and

   profitable settlements.” Id. at 5. Fearing damages or “to avoid the embarrassment or professional

   and/or personal ruin that might accompany a public accusation of copyright infringement,”

   Defendant speculates, some Doe defendants could “quickly and anonymously acquiesce to

   Plaintiff’s coercive demands” despite innocence. Id. at 6.

          Although Defendant expresses a concern regarding the fairness of Plaintiff’s settlement

   practices, Rule 45 does not contemplate quashing a subpoena on this basis. Even if it did, the Court

   has neither observed nor been made aware of any particular Defendant in the cases before this

   Court who has experienced “coercive” settlement tactics by Plaintiff. Defendant asserts, “Federal

   Courts have expressed skepticism toward this business model” and “question[ed] ‘Plaintiffs who

   file cases with extremely weak infringement positions in order to settle for less than the cost of

   defense and have no intention of taking a case to trial.’” ECF 12 at 3 (internal citations omitted).

   But the cases Defendant cites do not involve the Plaintiff. Indeed, as the Magistrate Judge assigned

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   to handle all cases by this Plaintiff and routinely assigned to handle all cases by other similarly

   situated plaintiffs, this Court has handled over a hundred similar cases and consistently found these

   plaintiffs are not copyright trolls but rather actual producers of adult films whose works are

   infringed.

          Additionally, Defendant contends “Plaintiff also has the ability to pursue the Defendants

   in a much less intrusive manner.” Id. at 4. However, provided Plaintiff has a good-faith basis under

   Rule 11 for bringing suit, it “has a constitutional right to file a lawsuit to and engage in discovery

   to determine whether a defendant or someone using a defendant’s IP address infringed on its

   protected works,” even if there is no ultimate liability. Malibu Media, LLC v. Maness, No. 12-cv-

   01873-RBJ-MEH, 2012 WL 7848837, at *6 (D. Colo. Dec. 4, 2012). Similarly, Plaintiff shares

   the same right as all litigants to settle or dismiss its claims before engaging in discovery and prior

   to the filing of any dispositive motions. Id. Thus, the Court is not convinced that Defendant has

   suffered “coercion” by Plaintiff.4

   III.   Embarrassment, Annoyance, and Undue Burden

          Finally, Defendant contends “Plaintiff’s subpoena is intended to cause an undue

   annoyance, embarrassment, and hardship to Defendant.” ECF 12 at 17. Specifically, Defendant

   claims that associating “Defendant’s personally identifying information . . . without sufficient

   evidentiary support with the unlawful downloading of copyrighted material . . . would be highly

   embarrassing to Defendant, unjustifiably stigmatizing to Defendant, injurious to Defendant’s

   character and reputation, and potentially jeopardizing to Defendant’s employment.” Id. Defendant


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    Even if the Court found this might constitute an “undue burden” under Rule 45—which it does
   not—a party “lacks standing to object [to a subpoena] on the basis of undue burden.” Howard,
   2012 WL 2923230, at *2 (internal citations omitted); see also Malibu Media, LLC, 2012 WL
   3089383, at *8.

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  insists that “the embarrassment and reputational damage” would “persist because of the public

  record” even if Defendant disproved Plaintiff’s allegations.” Id. at 18.

         At the outset, Defendant is a party and thus “lacks standing to object [to the subpoena] on

  the basis of undue burden.” Howard, 2012 WL 2923230, at *2 (internal citations omitted); see also

  Malibu Media, LLC, 2012 WL 3089383, at *8. Moreover, a party’s concern that being named as a

  defendant in a federal lawsuit may cause embarrassment and/or injure his or her reputation is

  outside Rule 45’s scope. Although “some social stigma [is] attached to consuming pornography .

  . . it is the rare civil lawsuit in which a defendant is not accused of behavior of which others may

  disapprove.” Malibu Media, LLC, 2012 WL 3089383, at *9 (internal quotations and citations

  omitted) (declining to quash a subpoena on the basis of a defendant’s embarrassment over the

  pornographic content of the work he allegedly infringed). Here, the Court has ordered the

  temporary restriction of a filing with Defendant’s identity and invited Defendant to move to

  maintain that restriction and proceed anonymously in this case. Thus, while the Court

  acknowledges Defendant’s concerns, in this matter, it is ultimately bound by Rule 45 and must

  only quash a subpoena on the bases cited therein.

         In fact, as in this case, to the extent embarrassment at being named in a lawsuit of this type

  might constitute an “undue burden” pursuant to Rule 45, in an effort to reduce the likelihood of

  any untoward settlement conduct or undue embarrassment of a Doe defendant, this Court affirms

  the practice of ISPs withholding a Doe defendant’s identifying information pending the resolution

  of any motion filed by a Doe defendant challenging the subpoena, and typically grants a Doe

  defendant’s well-supported motion to proceed anonymously in the case pending resolution of

  motions to dismiss, sever, or quash. Further, with a plaintiff’s consent, the Court has granted

  motions for protective order allowing Doe defendants to proceed in the litigation anonymously. In

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  this case, Defendant obviously has not been identified with the exception of Defendant’s own

  filing which the Court has temporarily ordered restricted. Any potential for embarrassment may

  be avoided (at least for a reasonable period) if agreeable to all parties.

                                            CONCLUSION

         The Court finds that Defendant has not met his or her burden of showing that the subpoena

  served on Comcast must be quashed. Therefore, the Court denies Defendant John Doe’s Motion

  to Quash Subpoena [filed May 30, 2023; ECF 12].

         The Clerk of Court is directed to maintain ECF 12-1 under Restriction Level Two until

  further order from the Court. The Court will permit this restriction pending resolution of a motion

  by Defendant to (1) maintain the filing under Restriction Level Two and (2) proceed anonymously

  in this litigation. Defendant may file the Motion on or before June 23, 2023. If no such motion is

  filed, however, the Court will order the removal of the restriction.

         Entered and dated at Denver, Colorado, this 8th day of June, 2023.

                                                         BY THE COURT:




                                                         Michael E. Hegarty
                                                         United States Magistrate Judge




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